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July 28, 2021                                         7KHFRQIHUHQFHVFKHGXOHGIRU6HSWHPEHULVUHVFKHGXOHG
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BY ECF                                                WHOHSKRQLFDOO\7RMRLQWKHFRQIHUHQFHGLDODQG
Honorable Mary Kay Vyskocil                           HQWHUDFFHVVFRGH6225'(5('
Southern District of New York
United States Courthouse
500 Pearl Street                                              
New York, New York 10007

Re:        Gothot v. Nurture, Inc., Case No. 1:21-cv-4997-MKV
                                                1 21    4997 MKV
           Gutierrez v. Nurture, Inc., Case No. 1:21-cv-03499-MKV
           Hampton et. al. v. Nurture, Inc., Case No. 1:21-cv-01882-MKV
           Jain v. Nurture, Inc., Case No. 1:21-cv-01473-MKV
           Robbins v. Nurture, Inc., Case No. 1:21-cv-5344-MKV
           Skibicki v. Nurture, Inc., et al., Case No. 1:21-cv-02553-MKV
           Smith v. Nurture, Inc., Case No. 1:21-cv-01534-MKV
           Soto v. Nurture, Inc., Case No. 1:21-cv-1271-MKV1
           Stewart et. al. v. Nurture, Inc., Case No. 21-cv-1217-MKV
           Strobel v. Nurture, Inc., Case No. 1:21-cv-02129-MKV
           Westin v. Nurture, Inc., Case No. 1:21-cv-2101-MKV
           Letter Proposing August 27 Conference

Dear Judge Vyskocil:

        We represent Defendant Nurture, Inc. (“Nurture”) in the above-referenced actions. We
write pursuant to the Court’s July 26, 2021 Order, entered on each of the above-referenced dockets,
directing counsel to “confer and propose dates and times during the weeks of August 16, 23, and 30
to reschedule the conference currently scheduled for September 1, 2021.” (See, e.g., Stewart, ECF
No. 42). Nurture has conferred with counsel and all counsel agree to rescheduling the conference for
August 27, 2021, at a time agreeable for the Court.

                                                         Respectfully submitted,



                                                         /s/ Colleen Carey Gulliver
                                                         Colleen Carey Gulliver
cc:        All counsel of record (by ECF)

1
    Nurture has not been served in the Soto action.
